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Plaintiff,
vs. cR. No. 04-20469-3

LEVOND i\/|ABONE, et a|.,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FV|NG PER|OD OF EXCLUDABLE DEL_AY
AND SETT|NG

 

This cause came on for a report date on June 23, 2005. At that time counsel for
the defendant requested a continuance of the July 5, 2005 trial date due to the
defendants’ fugitive status.

The Court granted the request and reset the trial date to August 1, 2005 With a
report date of Mondav. August 29, 2005. at 9:30 a.m., in Courtroom 1, 11th Floor of
the Federa| Building, l\/lemphis, TN.

The period from July 15, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(1 )(A) and (B) because the defendant is either absent or unavailable
and his presence cannot be determined or obtained by due diligence

|T |S SO ORDERED this §q)` day of Ju|y, 2005.

/

J. NlEl_ BREEN \
uN ED sTATEs DisTRlCT JuDGE

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This notice confirms a copy of the document docketed as number 45 in
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Honorable J. Breen
US DISTRICT COURT

